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                         6-29-2018                    Marcia Bullard

Scott Robbins, Tristany Wagner,   and Jeff Hedrick.




  See attachment.




      7-30-2018                                   Jordan Lovelace
                                            Jordan Lovelace
                                             Case 2:18-mj-01691-DUTY Document 3 Filed 08/01/18 Page 3 of 3 Page ID #:147


             U.S. Postal Inspection Service -- Evidence Inventory Report (All Open w/o Final Disposition)
Evidence Seized at 420 West Queen Street, Apt 7, Inglewood, California, 90301             Date of Report 7/19/2018
Area Office: Pacific, Division: 523, Team: 0605, Domicile: All, Case Control #: 2632158, Evidence Status: , Evidence
                                    Case                     Property                                                                                                                  High    Date of     Seizure
    Domicile       Barcode#                    Case Agent                 Amount     Location         Status                             Item Description
                                   Number                      Type                                                                                                                    Value   Seizure     location

 LONG BEACH                                    JORDAN E     Document/ch
 CA DOMICILE       AXXXXXXXX       2632158     LOVELACE         eck                    Office         Active                            Rental Car receipts                             No     6/29/2018   420 Queen

 LONG BEACH                                    JORDAN E                                                              Red Backpack containing camera, clothes, Glovers and
 CA DOMICILE       AXXXXXXXX       2632158     LOVELACE        Other                   Office         Active                           personal items                                   No     6/29/2018   420 Queen
                                               JORDAN E     Communicati                USPIS
USPIS Laboratory   AXXXXXXXX       2632158     LOVELACE      on Devices              Laboratory       Active                                   iPhone                                   no     6/29/2018   420 Queen
                                               JORDAN E     Computer/Eq                USPIS
USPIS Laboratory   AXXXXXXXX       2632158     LOVELACE       uipment                Laboratory       Active                      MacBook S/N C17T2A8DGTFS                              no     6/29/2018   420 Queen
 LONG BEACH                                    JORDAN E
 CA DOMICILE       AXXXXXXXX       2632158     LOVELACE        Mail                    Office         Active                               Mail Matter                                  no     6/29/2018   420 Queen
 LONG BEACH                                    JORDAN E                                                              Misc. Mail Matter, Green DOT Card in name of Nichole
 CA DOMICILE       AXXXXXXXX       2632158     LOVELACE         Mail                   Office         Active                               Hedgeman                                     no     6/29/2018   420 Queen
                                               JORDAN E     Computer/Eq                USPIS
USPIS Laboratory   AXXXXXXXX       2632158     LOVELACE       uipment                Laboratory       Active                            Dell laptop computer                            no     6/29/2018   420 Queen
                                               JORDAN E     Communicati                USPIS
USPIS Laboratory   AXXXXXXXX       2632158     LOVELACE      on Devices              Laboratory       Active                                   iPhone                                   no     6/29/2018   420 Queen
                                               JORDAN E     Communicati                USPIS
USPIS Laboratory   AXXXXXXXX       2632158     LOVELACE      on Devices              Laboratory       Active                                   iPhone                                   no     6/29/2018   420 Queen
                                               JORDAN E     Computer/Eq                USPIS
USPIS Laboratory   AXXXXXXXX       2632158     LOVELACE       uipment                Laboratory       Active                         Imac s/n C02ML8J4F8J2                             Yes     6/29/2018   420 Queen
                                               JORDAN E     Computer/Eq                USPIS
USPIS Laboratory   AXXXXXXXX       2632158     LOVELACE       uipment                Laboratory       Active                                   iPhone                                   No     6/29/2018   420 Queen
                                                                                                                     28- $100's, 4-$50's, 322-$20's, 30-$10's 52-$5's equal to
                                                                                                                     $10,000 cash in a grocery bag seized pursuant to federal
                                                                                                                  search warrant 2:18-MJ-1691. On June 29, 2018, Inspectors
                                                                                                                  McCune and Cavanagh-McGowan deposited the seized funds
 LONG BEACH                                    JORDAN E     Cash or Bear               Other -                    with the Airport Station Post Office retail unit into AIC-275 Insp
 CA DOMICILE       AXXXXXXXX       2632158     LOVELACE      Instrument 10,000.00     Disposed        Active                             Ser Holding Account                           Yes     6/29/2018   420 Queen
                                               JORDAN E     Computer/Eq                USPIS
USPIS Laboratory   AXXXXXXXX       2632158     LOVELACE        uipment               Laboratory       Active            LG Tablet MEID 009660032604731672                               No     6/29/2018   420 Queen
                                                                                       Other -      Temporary
                                                             Individual              Temporary      Transfer to
 LONG BEACH                                    JORDAN E       Property               Transfer to     Another
 CA DOMICILE       AXXXXXXXX       2632158     LOVELACE        Items                Other Agency     Agency                                   Passport                                  No     6/29/2018   420 Queen
 LONG BEACH                                    JORDAN E
 CA DOMICILE       AXXXXXXXX       2632158     LOVELACE        Mail                    Office         Active                         Mail addressed to Crosby                           No     6/29/2018   420 Queen
 LONG BEACH                                    JORDAN E
 CA DOMICILE       AXXXXXXXX       2632158     LOVELACE        Mail                    Office         Active                     Misc. Mail matter, bank statments                      No     6/29/2018   420 Queen
Final Total:                  16



                                                                                                  Page 1 of 1
